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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

 PHILLIP ROBINSON, II

        Plaintiff,
                                                      CASE NO.:
 v.

 FEDEX FREIGHT, INC. and BIG C
 FREIGHT, INC.,

       Defendant.
 _____________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, Phillip Robinson, by and through undersigned counsel, brings this action

 against Defendant FedEx Freight (“FedEx”) and Defendant, Big C Freight, Inc. (“Big C”),

 and in support states as follows:

                              JURISDICTION AND VENUE

        1.      This is an action for damages under the Fair Labor Standards Act (“FLSA”),

 29 U.S.C. § 201 et seq., and the Florida Minimum Wage Act (“FMWA”), Fla. Stat. §

 448.110, for failure to pay overtime wages under 29 U.S.C. § 215(a)(3).

        2.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29

 U.S.C. § 201 et seq. over the FLSA claims and pendant jurisdiction over Plaintiff’s state

 law claims.

        3.      Venue is proper in the Middle District of Florida, because all of the events

 giving rise to these claims occurred in Orange County, Florida.
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                                           PARTIES

        4.      Plaintiff is a resident of Orange County, Florida.

        5.      Defendant FedEx Freight (“FedEx”) operates a shipping and delivery

 business in Orlando, in Orange County, Florida.

        6.      Defendant Big C Freight (“Big C”) is a foreign for profit corporation, with

 a principal business address in Lake Park, GA. Big C operates a freight shipping and

 trucking company operating in Ocala and throughout Florida.

        7.      FedEx is one of America’s largest freight delivery companies. Big C Freight

 is a Line haul contractor of FedEx and operates numerous delivery teams throughout

 Florida.

        8.         Defendants are “joint employers” under the FLSA by virtue of the

 rigorous control FedEx exercises over its freight deliveries and the delivery drivers.

 Corporate FedEx exercises control over almost all aspects of the freight delivery

 operations, including, but not limited to, the job, the freight available to the drivers, the

 painting and decal of the trucks, and providing the FedEx Ground owned trailers.


                                GENERAL ALLEGATIONS

        9.      Plaintiff has satisfied all conditions precedent, or they have been waived.

        10.     Plaintiff has hired the undersigned attorneys and agreed to pay them a fee.

        11.     Plaintiff requests a jury trial for all issues so triable.

        12.     At all times material hereto, Plaintiff was “engaged in the production of

 goods” for commerce within the meaning of Sections 6 and 7 of the FLSA, and as such

 was subject to the individual coverage of the FLSA.


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        13.    At all times material hereto, Plaintiff was an “employee” of Defendants

 within the meaning of the FLSA.

        14.    At all times material hereto, Defendants were “employers” within the

 meaning of the FLSA, 29 U.S.C. § 203(d).

        15.    Defendants continue to be an “employer” within the meaning of the FLSA.

        16.    At all times material hereto, Defendant Big C was and continues to be an

 enterprise engaged in the “providing of services for commerce” within the meaning of the

 FLSA, 29 U.S.C. §§ 203(r) and 203(s).

        17.    At all times material hereto, Defendant FedEx was and continues to be an

 enterprise engaged in the “providing of services for commerce” within the meaning of the

 FLSA, 29 U.S.C. §§ 203(r) and 203(s).

        18.    At all times relevant to this action, the annual gross sales volume of

 Defendant Big C exceeded $500,000 per year.

        19.    At all times relevant to this action, the annual gross sales volume of

 Defendant FedEx exceeded $500,000 per year.

        20.    At all times material hereto, the work performed by Plaintiff was directly

 essential to the business performed by Defendant.

                                         FACTS

        21.    Plaintiff began working for Defendant as a Driver in February 2019, and he

 worked in this capacity until August 2019.




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        22.     At all times material hereto, Plaintiff worked hours at the direction of

 Defendant, and Plaintiff was not paid at least the applicable federal minimum wage for all

 of the hours that he worked.

        23.     At all times material hereto, Plaintiff worked hours at the direction of

 Defendant, and Plaintiff was not paid at least the applicable State of Florida minimum wage

 for all of the hours that he worked, in accordance with the Florida State Constitution and

 the FMWA.

        24.     At various times material hereto, Plaintiff worked hours in excess of forty

 (40) hours within a work week for Defendants, and he was entitled to be compensated for

 these overtime hours at a rate equal to one and one-half times his regular hourly rate.

        25.     Defendants failed to pay Plaintiff an overtime premium for all of the

 overtime hours that he worked, in violation of the FLSA.

        26.     Defendants required Plaintiff to travel to make deliveries in states other than

 Florida and would not pay Plaintiff for all of the hours worked by Plaintiff.

        27.     Defendant Big C’s actions were willful, and showed reckless disregard for

 the provisions of the FLSA.

        28.     Defendant FedEx’s actions were willful, and showed reckless disregard for

 the provisions of the FLSA.

                  COUNT I – FLSA MINIMUM WAGE VIOLATION

        29.     Plaintiff realleges and readopts the allegations of paragraphs 1 through 27

 of this Complaint, as though fully set forth herein.




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         30.   During the statutory period, Plaintiff worked for Defendants, and he was

 not paid the applicable minimum wage for the hours that he worked, as mandated by the

 FLSA.

         31.   The foregoing conduct, as alleged, constitutes a willful violation of the

 FLSA, within the meaning of 29 U.S.C. § 255(a).

         32.   As a result of the foregoing, Plaintiff has suffered damages.

         WHEREFORE, Plaintiff demands:

               a)     Judgment against Defendants for an amount equal to Plaintiff’s

                      unpaid back wages at the applicable statutory minimum wage;

               b)     Judgment against Defendants stating that Defendants’ violations of

                      the FLSA were willful;

               c)     An amount equal to Plaintiff’s minimum wage damages as

                      liquidated damages;

               d)     To the extent liquidated damages are not awarded, an award of

                      prejudgment interest;

               e)     A declaration that Defendants’ practices as to Plaintiff were

                      unlawful, and grant Plaintiff equitable relief;

               f)     All costs and attorney’s fees incurred in prosecuting these claims;

                      and

               g)     For such further relief as this Court deems just and equitable.




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                     COUNT II – FLSA OVERTIME VIOLATION

        33.     Plaintiff realleges and readopts the allegations of paragraphs 1 through 27

 of this Complaint, as though fully set forth herein.

        34.     During the statutory period, Plaintiff worked overtime hours while

 employed by Defendants, and he was not compensated for all of these hours in accordance

 with the FLSA.

        35.     The foregoing conduct, as alleged, constitutes a willful violation of the

 FLSA, within the meaning of 29 U.S.C. § 255(a).

        36.     As a result of the foregoing, Plaintiff has suffered damages.

        WHEREFORE, Plaintiff demands:

                a)      Judgment against Defendants for an amount equal to Plaintiff’s

                        unpaid back wages at the applicable overtime rate;

                b)      Judgment against Defendants stating that Defendant’s violations of

                        the FLSA were willful;

                c)      An equal amount to Plaintiff’s overtime damages as liquidated

                        damages;

                d)      To the extent liquidated damages are not awarded, an award of

                        prejudgment interest;

                e)      A declaration that Defendants’ practices as to Plaintiff were

                        unlawful, and grant Plaintiff equitable relief;

                f)      All costs and attorney’s fees incurred in prosecuting these claims;

                        and




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                g)      For such further relief as this Court deems just and equitable.

                     COUNT III – FLORIDA MINIMUM WAGE ACT

        37.     Plaintiff realleges and readopts the allegations of paragraphs 1 through 27

 of this Complaint, as though fully set forth herein.

        38.     Plaintiff has exhausted all of his administrative and pre-suit requirements

 under Fla. Stat. § 448.110. Specifically, Plaintiff has notified Defendants of the deficiency

 in his wages in writing. In this written notice, Plaintiff identified the applicable State

 minimum wage at issue, provided actual dates and hours or accurate estimates of all of the

 periods for which minimum wage payment is sought, and listed the total amount of his

 alleged unpaid wages through the date of the notice.

        39.     During the statutory period, Defendants did not pay Plaintiff the applicable

 Florida minimum wage, as Defendants were required to do under Section 24, Article X of

 the Florida Constitution as well as the FMWA.

        40.     As a result of the foregoing, Plaintiff has suffered damages.

        WHEREFORE, Plaintiff demands:

                a)      A jury trial for all issues so triable;

                b)      That process issue and that this Court assert jurisdiction over these

                        claims;

                c)      Judgment against Defendants for an amount equal to Plaintiff’s

                        unpaid wages, computed at a hourly rate equal to the applicable

                        State of Florida minimum wage;




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               d)      Judgment against Defendants, stating that its violations of the

                       FMWA were willful;

               e)      Liquidated damages in an amount equal to Plaintiff’s unpaid wages,

                       computed at a hourly rate equal to the applicable State of Florida

                       minimum wage;

               f)      To the extent that liquidated damages are not awarded, an award of

                       prejudgment interest;

               g)      A declaration that Defendants’ practices as to Plaintiff were

                       unlawful, and a grant of equitable relief to Plaintiff;

               h)      All costs and attorneys’ fees incurred in prosecuting these claims;

                       and

               i)      For such further relief as this Court deems just and equitable.

                                JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.

       Dated this 3rd day of February, 2020.

                                               Respectfully submitted,

                                               /s/ Brandon J. Hill
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